                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )       NO. 3:13-00011
                                           )       JUDGE CAMPBELL
JOSE MANUEL SOTELO-FIGUEROA                )


                                           ORDER


        Pending before the Court is Defendant Jose Sotelo-Figueroa’s Motion to Withdraw as

Counsel of Record (Docket No. 39). The Motion is GRANTED.

        IT IS SO ORDERED.



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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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